                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF WISCONSIN


 UNITED STATES OF AMERICA,
                                          Plaintiff,                             PRETRIAL ORDER
                 v.
                                                                                   Case No. 25-CR-89
 Hannah C. Dugan
                                          Defendant(s).



         In accordance with the Federal Rules of Criminal Procedure and the Criminal Local Rules for the United States
District Court for the Eastern District of Wisconsin, IT IS ORDERED that as part of the pretrial proceedings in this case
the parties shall comply with the following motion practice:

    1. All motions, together with supporting documents, shall be filed by May 30, 2025;
       Opposing memorandum shall be filed by June 9, 2025;
       Any reply shall be filed by June 16, 2025.

        a. Each motion shall be filed separately, although the moving party may file one memorandum in support of
           multiple motions.
        b. The length of any legal memorandum shall be in accordance with Civil L.R. 7(f).
        c. Any discovery motion under Fed. R. Crim. P. 16(a) or 16(b) must be accompanied by the statement required
           by Criminal L.R. 16(b).
        d. No motions to adopt or join in a motion of a co-defendant will be permitted without prior approval of the
           court for good cause shown.

    2. a. If either party files a motion seeking an evidentiary hearing, Criminal L.R. 12(c) applies and the movant is not
          required to file a supporting memorandum of law with the motion. (See Criminal L.R. 12(b)(5)).
       b. If a motion seeks an evidentiary hearing, the movant shall provide in the motion:
          (1) a short, plain statement of the principal legal issue or issues at stake and specific grounds for relief in the
               motion;
          (2) after a conference with the non-moving party, a description of the material disputed facts that the movant
               claims require an evidentiary hearing; and
          (3) an estimate of the in-court time necessary for the hearing.
       c. The non-moving party may file a response opposing an evidentiary hearing within 3 days after filing of a
          movant’s motion seeking an evidentiary hearing. The non-movant’s response shall include a short, plain
          statement of why that party believes that an evidentiary hearing is unnecessary. (See Criminal L.R. 12(c)).

    3. All motions pertaining to bail (e.g. motions for reduction of bail, modifications of conditions of release, and
       reconsideration of detention orders) shall be addressed to the magistrate judge who set bail or issued the
       order of detention. A copy of the motion and proposed order shall be delivered to the applicable magistrate judge
       at the following email address:

                                Stephen C. Dries               DriesPO@wied.uscourts.gov
                                William E. Duffin              DuffinPO@wied.uscourts.gov
                                Nancy Joseph                   JosephPO@wied.uscourts.gov
                                James R. Sickel                wied_clerks_gb@wied.uscourts.gov

    Dated May 15, 2025 at Milwaukee, Wisconsin.
                                                                           s/ Nancy Joseph
                                                                           UNITED STATES MAGISTRATE JUDGE

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